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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS ^
                                                                        A


    DON EARL JOHNSON,

                   Plaintiff,

                                                         Civil Action No. 15-13386-PBS


    COMMONWEALTH OF
    MASSACHUSETTS, ^al.

                   Defendants.



                                 REPORT AND RECOMMENDATION
                         ON THE DEFENDANTS^ MOTIONS TO DISMISS

                                            [Dkt. Nos. 18, 25]
                                            February 27, 2017
    BOAL, M.J.

           Plaintiff Don Earl Johnson brings this action pro ^ against the Commonwealth of

    Massachusetts, the Massachusetts Sex Offender Registry Board (the "SORB"), and the Boston

    Police Department. Dkt. No. 1 ("Complaint" or "Compl."). Johnson, a federal inmate,' alleges

    federal and state civil rights violations pursuant to 42 U.S.C. § 1983 ("Section 1983") and the

    Massachusetts Civil Rights Act (the "MCRA"). Compl. at 8.^ Specifically, Johnson claims that

    his civil rights were violated when he was required to register with the Massachusetts sex

    offender registry and that he suffered harm when he was convicted in federal court for failing to

    register as a sex offender. See id at 3-10. The matter is presently before the Court on the



    ' When he filed this case, Johnson was an inmate at the Federal Correctional Complex, Coleman
    II United States Penitentiary. S^ Compl. at 1. He was recently released to a halfway house in
    Tupelo, Mississippi. S^ Dkt. No. 42.
    ^When referring to the parties' pleadings and exhibits, the Court cites to the docket (ECF) page
    numbers rather than the page numbers in the original documents.

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